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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

KIMBERLY NESTER,                             )
                                             )
       Plaintiff,                            )      Case No. 17-cv-10487
                                             )
       vs.                                   )
                                             )
CREDIT ONE FINANCIAL d/b/a                   )
CREDIT ONE BANK                              )
                                             )
       Defendant.                            )

                                   NOTICE OF REMOVAL

       Defendant, Credit One Financial d/b/a Credit One Bank (“Credit One”), by its counsel,

submits this Notice of Removal pursuant to 28 U.S.C. §§ 1331, 1441, and 1446. As grounds for

its removal, Credit One states as follows:

       1.      Credit One is named as the defendant in a civil action filed on or about January 5,

2017 (the “Complaint”) by Plaintiff Kimberly Nester (“Plaintiff”), in the Small Claims Court of

the 24th Judicial District Court, State of Michigan, Case No. 17-47694A, captioned Kimberly

Nester v. Credit One Bank (the “State Court Action”).

       2.      Credit One was served with a summons and copy of the Complaint in the State

Court Action on or about January 25, 2017. See Exhibit A hereto (copies of the Complaint in

the State Court Action and the summons).

       3.      This Notice of Removal is timely under 28 U.S.C. § 1446(b) and Federal Rule of

Civil Procedure 6(a) because Credit One filed this Notice of Removal within 30 days of service

of the summons and Complaint, excluding “the day of the act, event, or default from which the

designated period of time beings to run” and the last day if it is a Saturday, Sunday, or legal

holiday.
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          4.    Credit One has not yet filed an answer or otherwise responded to the Complaint in

the State Court Action.

          5.    Removal to this district court is proper because this is the district which embraces

the county in which Plaintiff filed the State Court Action within the meaning of 28 U.S.C.

§ 1446(a).

          6.    This action is a civil action of which this Court has original jurisdiction under 28

U.S.C. § 1331, and is one which may be removed to this Court pursuant to the provisions of 28

U.S.C. § 1441(a), because Count III of the complaint arises under the federal Fair Credit

Reporting Act, 15 U.S.C. § 1681, et seq. See Ex. A.

          7.    This Court has supplemental jurisdiction over all other claims asserted by Plaintiff

pursuant to 28 U.S.C. § 1367(a) and 28 U.S.C. § 1441(c).

          8.    As required by 28 U.S.C. § 1446(d), Credit One is providing written notice of the

removal of this action to Plaintiff and to the Small Claims Court of the 24th Judicial District

Court, contemporaneously with the filing of this Removal.

          9.    Pursuant to 28 U.S.C. § 1446(a), attached as Exhibit A are accurate copies of all

papers received by Credit One as of the filing of this Removal.

          WHEREFORE, Credit One requests that the State Court Action be removed from state

court to this Court, and that this Court assume jurisdiction over the action and determine it on the

merits.




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Dated: February 15, 2017             Respectfully submitted,


                                     CREDIT ONE FINANCIAL d/b/a
                                     CREDIT ONE BANK

                             By:     /s/ Amy R. Jonker
                                     Amy R. Jonker (6283174)
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                                     Attorney for Credit One Financial d/b/a Credit One Bank



                                     Certificate of Service

        The undersigned hereby certifies that, on this 15th day of February, 2017, I filed a copy
of the foregoing electronically and served the following by regular mail, postage-prepaid:

Kimberly Nester
8315 Mayfair
Taylor, MI 48180
Plaintiff, pro se



                                                               /s/ Amy R. Jonker




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               Exhibit A
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